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                                         October 4, 2023

Via ECF

Re: Public Citizen, Inc. v. FERC, No. 22-1251 (Oral Argument Scheduled for Oct. 10, 2023)

Dear Mr. Langer:

This responds to the Federal Energy Regulatory Commission (“Commission”) letter dated
October 2, 2023, as per the October 2, 2023 Order requiring intervenor Nopetro LNG, LLC
(“Nopetro”) to respond to the Commission letter.

Nopetro currently is not pursuing the Port St. Joe project and has no current plans to do so in the
future. However, Nopetro continues to pursue opportunities with respect to gas exports and its
plans could change such that the standard for mootness has not been met. That is, Nopetro’s
future plans are not “so remote and speculative that there is no tangible prejudice to the existing
interests of the parties.” See Super Tire Engineering Co. v. McCorkle, 416 U.S. 115, 123 (1974).
Also, the underlying order sets out principles regarding the scope of the Commission’s
jurisdiction that could apply with respect to other Nopetro projects. Nopetro therefore
respectfully requests that the Court find that this appeal is not moot based on the news articles
cited by the Commission, which Nopetro agrees with Petitioner do not satisfy the heavy burden
of demonstrating mootness.

                                             Respectfully submitted,

                                             /s/ Jennifer L. Key
                                             Jennifer L. Key

                                             Counsel for Nopetro LNG, LLC

cc: all counsel (via CM/ECF)
